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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF VERMONT


  ADDISON CENTRAL SCHOOL
  DISTRICT, et al.

                 Plaintiffs,                                No. 2:23-CV-164-cr

  v.

  MONSANTO CO., SOLUTIA, INC., and
  PHARMACIA LLC

                 Defendants.

                 SOLUTIA, INC.’S CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 7.1, Defendant Solutia, Inc. (“Solutia”)

makes the following disclosures:

       1.      Solutia is a corporation organized under the laws of Delaware.

       2.      Solutia’s parent companies are: Eastman Chemical Company, with 73% ownership,

               Eastman International Holdings, LLC, with 19.5% ownership, and Eastman

               Chemical Ltd, with 7.5% ownership. Eastman Chemical Company is a publicly

               traded corporation organized under the laws of Delaware and no publicly-held

               corporation owns 10% or more of its stock.
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Dated at Burlington, Vermont this 27th day of July, 2023.

                                     SOLUTIA, INC.

                             By:      /s/ Alexandrea L. Nelson
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